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                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

 RUTH HATTON,                                  )       CASE NO.: 3:20-cv-00411
                                               )
                Plaintiff,                     )       JUDGE: MICHAEL J. NEWMAN
                                               )       MAGISTRATE JUDGE PETER B.
         vs.                                   )       SILVAIN
                                               )
 MSC TRUCKING, et al.,                         )
                                               )       DISMISSAL ENTRY
                Defendants.                    )


       We, the undersigned attorneys for the respective parties herein, do hereby stipulate that the

above-captioned case is to be marked "settled and dismissed with prejudice, each party to bear its own

costs," and that the Court may enter an order accordingly, notice by the Clerk being hereby waived.

IT IS SO ORDERED.

/s Michael J. Newman
Hon. Michael J. Newman
United States District Judge                        Date: December 1, 2021

 /s/ Jack J. Lah (via email consent)                /s/ Jonathan M. Menuez
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